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 2 Services
                                                     UNITED STATES BANKRUPTCY COURT
                                                        SOUTHERN DISTRICT OF IOWA
                                                           DAVENPORT DIVISION

               In Re:                                             §
                                                                  §
               Kennard P Kling                                    §     Case No. 18-02154
                                                                  §
                                   Debtor                         §

                                                 NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                   APPLICATIONS FOR COMPENSATION
                                                     AND DEADLINE TO OBJECT (NFR)

                       Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that WESLEY B.
               HUISINGA, trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s
               professionals have filed final fee applications, which are summarized in the attached Summary of
               Trustee's Final Report and Applications for Compensation.

                       The complete Final Report and all applications for compensation are available for inspection at
               the Office of the Clerk, at the following address:
                                              110 East Court Ave
                                              Suite 300
                                              Des Moines, IA 50309
                       Any person wishing to object to any fee application that has not already been approved or
               to the Final Report, must file a written objection within 30 days from the mailing of this notice,
               together with a request for a hearing and serve a copy of both upon the trustee, any party whose
               application is being challenged and the United States Trustee. If no objections are filed, the Court
               will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009 without
               further order of the Court.

               Date Mailed: 05/08/2019                                By: /s/ WESLEY B. HUISINGA
                                                                                         Trustee


               WESLEY B. HUISINGA
               115 THIRD STREET S.E., SUITE 500
               P O BOX 2107
               CEDAR RAPIDS, IA 52406-2107




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                                              UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF IOWA
                                                    DAVENPORT DIVISION


      In Re:                                                                §
                                                                            §
      Kennard P Kling                                                       §         Case No. 18-02154
                                                                            §
                             Debtor                                         §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                     25,000.00
                   and approved disbursements of                                                                      $                             68.28
                                                            1
                   leaving a balance on hand of                                                                       $                     24,931.72


                 Claims of secured creditors will be paid as follows:


                                                                                 NONE


                 Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                     Interim Payment             Proposed
                            Reason/Applicant                             Total Requested             to Date                     Payment
       Trustee Fees: WESLEY B. HUISINGA                                 $             3,250.00 $                          0.00 $              3,250.00
       Trustee Expenses: WESLEY B. HUISINGA $                                             71.80 $                         0.00 $                    71.80
                   Total to be paid for chapter 7 administrative expenses                                             $                       3,321.80
                   Remaining Balance                                                                                  $                     21,609.92


                 Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                                                 NONE



____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:


                                                            NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will be
     paid pro rata only after all allowed administrative and priority claims have been paid in full. The timely
     allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if applicable).

                 Timely allowed general (unsecured) claims are as follows:


                                                            NONE


             Tardily filed claims of general (unsecured) creditors totaling $ 1,856,724.13 have been allowed
     and will be paid pro rata only after all allowed administrative, priority and timely filed general
     (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 1.2
     percent, plus interest (if applicable).

                 Tardily filed general (unsecured) claims are as follows:

                                                  Allowed Amount        Interim Payment to
     Claim No.          Claimant                  of Claim              Date               Proposed Payment
     1                  Pfister Seeds, Llc       $       767,150.51 $                0.00 $            8,928.66
     2                  Channel Bio              $     1,089,573.62 $                0.00 $          12,681.26
                Total to be paid to tardy general unsecured creditors                 $               21,609.92
                Remaining Balance                                                     $                     0.00


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:




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                                                           NONE


                                                Prepared By: /s/ WESLEY B. HUISINGA
                                                                               Trustee


     WESLEY B. HUISINGA
     115 THIRD STREET S.E., SUITE 500
     P O BOX 2107
     CEDAR RAPIDS, IA 52406-2107


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF IOWA

                                                )
IN RE                                           )    CHAPTER 7
                                                )
KENNARD P KLING                                 )    Case No. 18-02154-ALS7
                                                )
Debtor                                          )    CERTIFICATE OF SERVICE
                                                )
                                                )

         The undersigned hereby certifies that a copy of the Notice of Trustee’s Final Report and

Proposed Distribution was served by regular first class mail, postage prepaid, to all parties on the

matrix on May 8, 2019.




                                                     /s/ Brandy Wood
                                                     Brandy Wood
                                                     Assistant to Wesley B. Huisinga,
                                                     Chapter 7 Bankruptcy Trustee
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